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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF VIRGINIA
                       CHARLOTTESVILLE DIVISION


UNITED STATES OF AMERICA
                                                 Case No. 3:20-mj-00036
v.

HAIZHOU HU




           UNITED STATES’ MOTION TO DISMISS COMPLAINT

      The United States, by and through its attorney, the United States Attorney for

the Western District of Virginia, respectfully moves the Court to dismiss the criminal

complaint without prejudice in the above-captioned matter.

      WHEREFORE, the United States respectfully requests the Court grant the

instant motion.

                                       Respectfully submitted,

                                       DANIEL P. BUBAR
                                       ACTING UNITED STATES ATTORNEY

                                       __________/s/____________________
                                       Christopher Kavanaugh (VA Bar #73093)
                                       Assistant United States Attorney
                                       255 West Main Street, Room 130
                                       Charlottesville, Virginia 22902
                                       Christopher.Kavanaugh@usdoj.gov




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                            CERTIFICATE OF SERVICE
       I hereby certify that on this 20th day of September, 2020, I electronically filed

the foregoing pleading with the Clerk of the Court using the CM/ECF system which

will send notification of such filing to all counsel of record.


                                          __________/s/____________________
                                          Christopher R. Kavanaugh (VA Bar #73093)
                                          Assistant United States Attorneys
                                          255 West Main Street, Room 130
                                          Charlottesville, Virginia 22902




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